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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                    Crim No. 06-20056-09-KHV
                                     )
v.                                   )
                                     )                    Civil No. 08-2466-KHV
TRISTAN LUSTER,                      )
                                     )
               Defendant.            )
_____________________________________)

                                  MEMORANDUM AND ORDER

       On November 1, 2007, pursuant to a plea agreement under Rule 11(c)(1)(C), Fed. R. Crim. P.,

defendant pled guilty to distribution of cocaine in violation of 21 U.S.C. § 841(a). See Petition To

Enter Plea Of Guilty And Order Entering Plea (Doc. #352). On May 19, 2008, consistent with the

parties’ plea agreement, the Court sentenced defendant to 180 months in prison. On April 8, 2009, the

Court overruled defendant’s motion under 28 U.S.C. § 2255. See Memorandum And Order (Doc.

#646). This matter is before the Court on defendant’s Request For Authorization To Appeal (Doc.

#670) filed May 25, 2009. For reasons stated below, the Court overrules defendant’s motion.

       The denial of a Section 2255 motion is not appealable unless the circuit justice or a circuit or

district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).

“A certificate of appealability may issue . . . only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To satisfy this standard, the movant must

demonstrate that his motion raises issues that are debatable among jurists, that a court could resolve the

issues differently, or that the questions deserve further proceedings. See Slack v. McDaniel, 529 U.S.

473, 483-84 (2000); United States v. Sistrunk, 111 F.3d 91, 91 (10th Cir. 1997). For reasons stated in

the Court’s prior order, see Memorandum And Order (Doc. #646), the Court finds that defendant has
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not made a substantial showing of the denial of a constitutional right.

       IT IS THEREFORE ORDERED that defendant’s Request For Authorization To Appeal (Doc.

#670) filed May 25, 2009 be and hereby is OVERRULED.

       Dated this 5th day of June, 2009, at Kansas City, Kansas.

                                                        s/ Kathryn H. Vratil
                                                        KATHRYN H. VRATIL
                                                        United States District Judge




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